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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

THE PARISH OF PLAQUEMINES
          Plaintiff                                     CIVIL ACTION NO.: 2:18-cv-05264

VERSUS
                                                        JUDGE: FELDMAN
CAMPBELL ENERGY CORPORATION,
BEPCO, L.P., BOPCO, L.P., EXXON
MOBIL CORPORATION,                                      MAGISTRATE JUDGE: NORTH
CONOCOPHILLIPS COMPANY,
GRAHAM ROYALTY, LTD., GULF
EXPLORATION COMPANY, INC.,
CHEVRON U.S.A., INC., GULF
PRODUCTION COMPANY, INC.,
KENMORE OIL CO., INC., THE
LOUISIANA LAND AND
EXPLORATION COMPANY LLC,
LINDER OIL COMPANY, A
PARTNERSHIP, LLOG EXPLORATION
& PRODUCTION COMPANY, L.L.C.,
FREEPORT-MCMORAN OIL & GAS
LLC, RESOURCES INVESTMENT
CORPORATION, SPARTAN
MINERALS, LTD., CHEVRON U.S.A.
HOLDINGS, INC., AND EDWIN L. COX
            Defendants.




      DEFENDANTS’ MOTION FOR STAY PENDING MDL DETERMINATION


       For the reasons provided in the attached memorandum in support, Defendants

Defendants, Chevron U.S.A. Inc., Chevron U.S.A. Holdings, Inc., Exxon Mobil Corporation,

ConocoPhillips Company, and The Louisiana Land and Exploration Company LLC (hereafter,

“moving Defendants”) respectfully request that the Court stay proceedings in this case – and

particularly consideration of remand – until after the Judicial Panel on Multidistrict Litigation



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(JPML) rules on a pending motion to coordinate proceedings in this case and 40 other cases. The

JPML is scheduled to meet on July 26, 2018.

                                              Respectfully submitted:

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                            Attorneys for Exxon Mobil Corporation




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                                CERTIFICATE OF SERVICE


       This is to certify that on May 30, 2018, a copy of the foregoing was filed electronically

with the Clerk of Court of the United States District Court for the Eastern District of Louisiana

using the CM/ECF system, which then issued electronic notices of the filing to registered

attorneys in the federal CM/ECF PACER system.

                                          /s/Claire E. Juneau




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